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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                      FORT MYERS DIVISION

  MICHAEL SEAVER,

       Plaintiff,

  v.                                                       CASE NO.: 2:16-cv-00586-SPC-CM

  CITIBANK, NATIONAL ASSOCIATION,

       Defendant.
                                            /

                                  NOTICE OF SETTLEMENT

           Plaintiff,   Michael   Seaver,       by   and   through      his   undersigned    counsel,

  hereby notifies the Court that the parties, Plaintiff,                      Michael   Seaver, and

  Defendant, Citibank, National Association, have reached a settlement with regard to this

  case, and are presently drafting, finalizing, and formalizing such. Upon execution of the

  same      and     certain   terms   of    the      agreement,   the     parties   will    file   the

  appropriate dismissal documents to dismiss this matter with prejudice.


                                                              /s/ Jared M. Lee
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                             CERTIFICATE OF SERVICE:

         I HEREBY CERTIFY on this 20th day of July 2017, I electronically filed the

  foregoing document with the United States District Court, Middle District of Florida, Fort

  Myers Division by using the CM/ECF system. I certify the following parties or their

  counsel of record are registered as ECF Filers and that they will be served by the

  CM/ECF system:

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